 Case 4:23-cv-00758-P-BJ Document 44 Filed 09/01/23                  Page 1 of 2 PageID 594



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS


CONGHUA YAN,                                  §      CIVIL ACTION 4:23-CV-758-P
                                              §
       Plaintiff                              §
                                              §
vs.                                           §
                                              §
THE STATE BAR OF TEXAS, et al.                §

             DEFENDANT’S NOTICE OF CORRECTED EMAIL ADDRESS

       NOW COMES, WILLIAM ALBERT PIGG, and files this, his notice of correct email.

1.     Defendant William Albert Pigg’s correct email for purposes of service and notification is:

               wapigg@pigglawfirm.com

2.     The above email is the email Defendant Pigg has on file with Pacer and is also the email

that Defendant Pigg has on his signature block for all documents filed within the Pacer system.

3.     Defendant Pigg requests that this court as well as the other parties in this matter take

notice of the correct email address.


                                                     Respectfully Submitted
                                                     WILIAM A. PIGG, PLLC


                                                     s/ William A. Pigg
                                                     SBN 24057009
                                                     wapigg@ pigglawfirm.com

                                                      /s/ Charles L. Woods
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 Case 4:23-cv-00758-P-BJ Document 44 Filed 09/01/23                    Page 2 of 2 PageID 595



                               CERTIFICATE OF SERVICE

         I hereby certify that I have served a copy of the foregoing on all parties in this matter on
this 1st day of September, 2023.

                                               /s/ William A. Pigg
